          Case 1:19-cv-10203-IT Document 157 Filed 10/29/21 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



                                                       Civ. Action. No.
 Sonya Larson
                        Plaintiff                                   1:19-cv-10203-IT
 V
 Dawn Dorland Perry, et al
                        Defendants




             NOTICE OF AND ORDER WITH RESPECT TO MEDIATION

                                       October 29, 2021

CABELL, U.S.M.J.

       The parties are hereby notified that in accordance with the Order of Reference referring

this case to Alternative Dispute Resolution the court has scheduled a mediation conference at

10:00 am on Thursday, February 3, 2022 by videoconference. Counsel are directed to be

present with their respective clients or representatives thereof without limitation on their authority

to negotiate and commit to settlement terms that, in their discretion, may be acceptable. It shall be

understood (a) that all parties and counsel will participate in this court-sponsored mediation in

good faith and with the interest of settling the matter on mutually acceptable terms, (b) that the

entire mediation process, including all communications during any in-person, video or audio part

thereof, is confidential, (c) that all statements made during the course of mediation are privileged

settlement discussions, made without prejudice to any party's legal position, and inadmissible for

any purpose in any legal proceeding, (d) that no party, participant, or representative shall seek in

any proceeding to hereafter compel the mediator to testify and/or produce any document with
            Case 1:19-cv-10203-IT Document 157 Filed 10/29/21 Page 2 of 3




respect to the mediation, and (e) that all parties, counsel and other participants agree that, by

participating in this court-sponsored mediation, they are bound by these conditions and shall keep

confidential all communications exchanged during the mediation process. .

       The parties are asked to accommodate the court’s scheduled mediation date. If the date

poses a serious conflict, please do NOT contact the Courtroom Deputy directly regarding

mediation scheduling; instead, the parties are to confer and file on CM/ECF an assented-to motion

to continue the mediation, including therein several proposed dates for which all counsel and

principals are available.

       By no later than fourteen (14) days before the mediation the parties shall exchange

settlement proposals and inform the court immediately if they no longer believe it would be fruitful

to hold the mediation.

       By no later than ten (10) days before the mediation, each party shall provide the court a

confidential settlement memorandum (marked “Confidential – Not for Docketing”) of no more

than five pages addressing with candor, in enumerated sections, the following points:

       1.      A brief analysis of the key issues involved in the litigation, including a specific

               breakdown of the claimed damages.

       2.      A description of the strongest and weakest legal and factual points in the party’s

               case and the opponent’s case.

       3.      The status of settlement negotiations, including the last settlement proposal made

               by each side. In this regard, counsel are directed to confer with their clients in

               advance of the mediation conference to explore the party’s settlement position.

       4.      The settlement proposal that the party believes would be fair.
              Case 1:19-cv-10203-IT Document 157 Filed 10/29/21 Page 3 of 3




         5.       The settlement proposal that the party would be willing to make in order to

                  conclude the matter at this time.

         6.       A list of the expected attendees at the mediation along with a brief explanation of

                  their role or title.

         Each memorandum shall be held in confidence by the court and shall not be filed on

CM/ECF. The memoranda should be sent to Noreen Russo, Deputy Clerk, Clerk’s Office, United

States District Court, 1 Courthouse Way, Boston, Massachusetts 02210, or preferably, e-mailed to

Noreen_Russo@mad.uscourts.gov.

         If you believe the case is not ripe for mediation1 you must notify opposing counsel and the

Court as soon as possible.

                  IT IS SO ORDERED.



                                                       /s/ Donald L. Cabell
                                                       DONALD L. CABELL
                                                       UNITED STATES MAGISTRATE JUDGE




         1
           Examples of reasons why a case might not be ripe for mediation are (1) crucial discovery has not yet been
done or (2) one or more of the parties is unwilling to settle the case on any terms or (3) one or more of the parties is
unwilling to settle the case on any terms other than those which the other party or other parties will find impossible to
accept.
